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                          United States District Court
                                              Western District of Wisconsin

                   UNITED STATES OF AMERICA                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                          (for offenses com m itted on or after N ovem ber 1, 1987)
                                                                                          RE-SENTENCING

                                   V.                                            Case Number:              09-CR-112-C-02

                              CHERISH JONES                              Defendant's Attorney:             Toni Laitsch



The defendant, Cheris Jones pleaded guilty to count 1 of the indictment.


ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                                      Date Offense                Count
Title & Section                         Nature of Offense                                             Concluded                 Num ber(s)
21 U.S.C. § 841(a)(1) and               Distribution of Heroin, a Schedule I controlled               August 11, 2009               1
18 U.S.C. § 2                           substance (aiding and abetting); a Class C felony


The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of name, residence, or m ailing address until all fines, restitution, costs, and special assessments
imposed by this judgm ent are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s econom ic circumstances.




  Defendant's Date of Birth:               May 31, 1988                                                    December 2, 2010
                                                                                                    Date of Imposition of Judgment
  Defendant's USM No.:                     06911-090

  Defendant's Residence Address:           c/o Tashauna Jones (sister)
                                           79th & Roosevelt
                                           Milwaukee, WI 53218                                               /s/ Barbara B. Crabb
                                                                                                            Barbara B. Crabb
  Defendant's Mailing Address:             c/o Bureau of Prisons
                                                                                                             District Judge

                                                                                                           December 3, 2010
                                                                                                              Date Signed:
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                                                     IMPRISONMENT
As to count one of the indictment, it is ordered that the judgment entered on January 14, 2010, is amended to provide that
defendant’s sentence of imprisonment is deemed served, effective December 3, 2010. Her term of supervised release is
reduced to two years and is to begin on December 3, 2010.

In all other respects, the judgment remains as entered on January 14, 2010.

I recommend that defendant be afforded the opportunity to participate in substance abuse education and treatment programs
while confined and that she be afforded prerelease placement in a residential reentry center with work release privileges.




                                                                RETURN

           I have executed this judgment as follow s:




           Defendant delivered on                                           to

at                                     , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL
                                                              By
                                                                                                 Deputy Marshal
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                                                SUPERVISED RELEASE
The term of imprisonment is to be followed by a two-year term of supervised release with standard conditions.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not commit another federal, state, or local crime.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm, destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Department and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Financial Penalties sheet of this judgment.

In light of the nature of the offense and defendant’s personal history, I adopt the seven special conditions recommended in the
supervision plan as outlined in the presentence report. I note that neither party had objections to the proposed conditions.

(1)        Register with local law enforcement agencies and the state attorney general, as directed by the supervising U.S.
           probation officer;

(2)        Provide the supervising U.S. probation officer any and all requested financial information, including copies of state and
           federal tax returns;

(3)        If not employed at a regular lawful occupation, perform up to 20 hours of community service each week and participate
           in training, counseling, daily job search or other activities relating to finding or preparing for employment, all as directed
           by the probation officer;

(4)        Not associate with any member or prospective member of any known street gang or affiliate;

(5)        Participate in mental health referral, assessment and treatment as approved by the supervising U.S. probation officer
           and comply with all rules, regulations and recommendations of the mental health agency or its representative to the
           extent approved by the supervising U.S. probation officer. Defendant shall take any medications prescribed by a
           licensed medical provider;

(6)        Submit her person, property, residence, office or vehicle to a search conducted by a U.S. probation officer at a
           reasonable time and in a reasonable manner, whenever the probation officer has reasonable suspicion of contraband
           or of the violation of a condition of release; failure to submit to a search may be a ground for revocation; defendant
           shall warn any other residents that the premises she is occupying may be subject to searches pursuant to this
           condition; and

(7)        Abstain from the use of alcohol and illegal drugs and from association with drug users and sellers and participate in
           substance abuse treatment. Defendant shall submit to drug testing beginning within 15 days of his release and 60
           drug tests annually thereafter. The probation office may utilize the Administrative Office of the U.S. Courts’ phased
           collection process.
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                                       STANDARD CONDITIONS OF SUPERVISION
    1)    Defendant shall not leave the judicial district without the permission of the court or probation officer;

    2)    Defendant shall report to the probation officer as directed by the court or probation officer and shall submit a
          truthful and complete written report within the first five days of each month;

    3)    Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;

    4)    Defendant shall support his or her dependents and meet other family responsibilities;

    5)    Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
          training, or other acceptable reasons;

    6)    Defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

    7)    Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
          administer any narcotic or other controlled substance, or any paraphernalia related to such substances except as
          prescribed by a physician;

    8)    Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
          administered;

    9)    Defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
          person convicted of a felony unless granted permission to do so by the probation officer;

  10)     Defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view by the probation officer;

  11)     Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;

  12)     Defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
          agency without the permission of the court;

  13)     As directed by the probation officer, defendant shall notify third parties of risks that may be occasioned by
          defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make
          such notifications and to confirm defendant's compliance with such notification requirement.
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                                        CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of payments set forth below.


                               Count     Assessment                  Fine                     Restitution

                                   1     $100.00                     $0.00                    $0.00

                                Total    $100.00                     $0.00                    $0.00


Further, it is adjudged that defendant is to pay a $100 criminal assessment penalty to the Clerk of Court for the W estern District
of Wisconsin immediately following sentencing.

Defendant does not have the means to pay a fine under § 5E1.2(c) without impairing her ability to support herself and her
children upon release.
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                                          SCHEDULE OF PAYMENTS
Payments shall be applied in the following order:
                                                           (1) assessment;
                                                           (2) restitution;
                                                           (3) fine principal;
                                                           (4) cost of prosecution;
                                                           (5) interest;
                                                           (6) penalties.


The total fine and other monetary penalties shall be due in full immediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgment imposes a period of
imprisonment, payment of monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to
the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

In the event of a civil settlement between victim and defendant, defendant must provide evidence of such payments or
settlement to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
